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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION


 RONALD W. HARGIS and
 AMY HARGIS

         V.                                                     Case No. 1:08-CV-00339-RLY-JMS

 WELLSPEAK ENTERPRISES, INC.
 d/b/a AJ ENGINEERING, KOHLER COATING,
 and MARQUIP WARD UNITED


                      FIRST AMENDED COMPLAINT FOR DAMAGES

                                    FIRST CAUSE OF ACTION

         Comes now the plaintiff, Ron Hargis, by counsel, Nunn Law Office, and for cause of

 action against the defendant, Wellspeak Enterprises, Inc., d/b/a AJ Engineering, alleges and says:

         1.      That on or about October 10, 2007, the plaintiff, Ronald W. Hargis, was at his

 place of employment at Flutes, Inc., 8254 Zionsville Road, Indianapolis, Marion County, Indiana,

 performing his job duties while using machinery, when his hand was pulled into the machine up

 to his wrist.

         2.      That plaintiff alleges that this court possesses subject matter jurisdiction pursuant

 to 18 U.S.C. Section 1332 insomuch as there is diversity of citizenship between plaintiff and

 defendant in that defendant Wellspeak Enterprises, Inc., d/b/a AJ Engineering's principle place of

 business is in North Carolina and is therefore a citizen of the State of North Carolina and the

 plaintiff Ron Hargis, is a citizen of the State of Indiana. Plaintiff also alleges that the amount in

 controversy exceeds the jurisdictional limitation.

         3.      That the machinery had been purchased from the defendant.
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        4.      Said machinery was designed, manufactured, and sold by defendant.

        5.      Defendant negligently designed, manufactured and sold the machinery.

        6.      Defendant negligently trained Flutes, Inc. employees in the operation of said

 machinery.

        7.      That plaintiff's injuries were caused by the negligence of the defendant.

        8.      That the aforesaid acts of negligence on the part of the defendant were the

 proximate cause of the injuries sustained by the plaintiff.

        9.      That the plaintiff has incurred medical expenses, lost wages, and other special

 expenses in an amount to be proven at the trial of this cause, and will incur future medical

 expenses, lost wages, and other special expenses, as a direct and proximate result of defendants'

 negligence.

        WHEREFORE, the plaintiff demands judgment against the defendants for permanent

 injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses,

 lost wages, and other special expenses, for future medical expenses, lost wages, and other special

 expenses, court costs, and all other proper relief in the premises.



                                        NUNN LAW OFFICE



                                        BY:     /s/ Michael W. Phelps
                                                Michael W. Phelps, #20646-89




                                  SECOND CAUSE OF ACTION
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         Comes now the plaintiff, Ron Hargis, by counsel, Nunn Law Office, and for cause of

 action against the defendant, Kohler Coating, alleges and says:

         1.       That he incorporates by reference all paragraphs of the First Cause of Action as

 set out above.

         2.       That on or about October 10, 2007, the plaintiff, Ronald W. Hargis, was at his

 place of employment at Flutes, Inc., 8254 Zionsville Road, Indianapolis, Marion County, Indiana,

 performing his job duties while using machinery, when his hand was pulled into the machine up

 to his wrist.

         3.       That plaintiff alleges that this court possesses subject matter jurisdiction pursuant

 to 18 U.S.C. Section 1332 insomuch as there is diversity of citizenship between plaintiff and

 defendant in that defendant Kohler Coating's principle place of business is in Ohio and is

 therefore a citizen of the State of Ohio and the plaintiff Ron Hargis, is a citizen of the State of

 Indiana. Plaintiff also alleges that the amount in controversy exceeds the jurisdictional

 limitation.

         4.       That the machinery had been purchased from the defendant.

         5.       Said machinery was designed, manufactured, and sold by defendant.

         6.       Defendant negligently designed, manufactured and sold the machinery.

         7.       Defendant negligently trained Flutes, Inc. employees in the operation of said

 machinery.

         8.       That plaintiff's injuries were caused by the negligence of the defendant.

         9.       That the aforesaid acts of negligence on the part of the defendant were the

 proximate cause of the injuries sustained by the plaintiff.
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         10.     That the plaintiff has incurred medical expenses, lost wages, and other special

 expenses in an amount to be proven at the trial of this cause, and will incur future medical

 expenses, lost wages, and other special expenses, as a direct and proximate result of defendants'

 negligence.

         WHEREFORE, the plaintiff demands judgment against the defendants for permanent

 injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses,

 lost wages, and other special expenses, for future medical expenses, lost wages, and other special

 expenses, court costs, and all other proper relief in the premises.

                                        NUNN LAW OFFICE



                                        BY:     /s/ Michael W. Phelps
                                                Michael W. Phelps, #20646-89



                                   THIRD CAUSE OF ACTION


         Comes now the plaintiff, Ron Hargis, by counsel, Nunn Law Office, and for cause of

 action against the defendant, Marquip Ward United, alleges and says:

         1.      That he incorporates by reference all paragraphs of the First Cause of Action and

 Second Cause of Action as set out above.

         2.      That on or about October 10, 2007, the plaintiff, Ronald W. Hargis, was at his

 place of employment at Flutes, Inc., 8254 Zionsville Road, Indianapolis, Marion County, Indiana,

 performing his job duties while using machinery, when his hand was pulled into the machine up

 to his wrist.
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        3.      That plaintiff alleges that this court possesses subject matter jurisdiction pursuant

 to 18 U.S.C. Section 1332 insomuch as there is diversity of citizenship between plaintiff and

 defendant in that defendant Marquip Ward United's principle place of business is in Wisconsin

 and is therefore a citizen of the State of Wisconsin and the plaintiff Ron Hargis, is a citizen of the

 State of Indiana. Plaintiff also alleges that the amount in controversy exceeds the jurisdictional

 limitation.

        4.      That the machinery had been purchased from the defendant.

        5.      Said machinery was designed, manufactured, and sold by defendant.

        6.      Defendant negligently designed, manufactured and sold the machinery.

        7.      Defendant negligently trained Flutes, Inc. employees in the operation of said

 machinery.

        8.      That plaintiff's injuries were caused by the negligence of the defendant.

        9.      That the aforesaid acts of negligence on the part of the defendant were the

 proximate cause of the injuries sustained by the plaintiff.

        10.     That the plaintiff has incurred medical expenses, lost wages, and other special

 expenses in an amount to be proven at the trial of this cause, and will incur future medical

 expenses, lost wages, and other special expenses, as a direct and proximate result of defendants'

 negligence.



        WHEREFORE, the plaintiff demands judgment against the defendants for permanent

 injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses,
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 lost wages, and other special expenses, for future medical expenses, lost wages, and other special

 expenses, court costs, and all other proper relief in the premises.

                                        NUNN LAW OFFICE



                                        BY:     /s/ Michael W. Phelps
                                                Michael W. Phelps, #20646-89

                                  FOURTH CAUSE OF ACTION


        Comes now the plaintiff, Amy Hargis, by counsel, Nunn Law Office, and for cause of

 action against the defendants, Wellspeak Enterprises, Inc., d/b/a AJ Engineering, Kohler

 Coating, and Marquip Ward United, alleges and says:

        1.      That she incorporates by reference all paragraphs of the First Cause of Action,

 Second Cause of Action, and Third Cause of Action as set out above.

        2.      That the plaintiffs are husband and wife and were husband and wife on the date of

 the above described accident.

        3.      That as a direct and proximate result of defendants' negligence and the resulting

 permanent injuries received by Ron Hargis, the plaintiff, Amy Hargis, has been deprived of her

 husband's services, companionship, society and consortium during the period of his

 convalescence and for an indefinite further period of time, and has been damaged in an amount to

 be determined at the trial of this cause.
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         WHEREFORE, the plaintiff demands judgment against the defendants for the loss of her

 husband's services, companionship, society and consortium, in a reasonable amount to be

 determined at the trial of this cause, court costs, and for all other proper relief in the premises.

                                         NUNN LAW OFFICE



                                         BY:     /s/ Michael W. Phelps
                                                 Michael W. Phelps, #20646-89



                                    CERTIFICATE OF SERVICE

         I affirm, under the penalties of perjury, that on or about June 25, 2009, service of a true

 and complete copy of the above and foregoing pleading or paper was filed through the Court's

 EFC system.

                                                         /s/ Michael W. Phelps
                                                         Michael W. Phelps, #20646-89
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